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IN THE UNITED STATES DISTRlCT COURT
FOR THE EASTERN DISTRlCT OF VIRGINIA
Richmond Division
EDDIE LEGSTON,
Plaintiff,
v. Civil Action No. 3:18cv460

SOS INTERNATIONAL (VA) LTD, and
SOS INTERNATIONAL LTD,

Defendants.
MMIM

This matter comes before the Court on two motions: Defendant SOS International (VA)
LTD and Defendant SOS Intemational LTD’s (collectively, “Defendants”)' Motion to Transfer
Venue (the "Motion to Transfer”), (ECF No. 4), and Plaintiff Eddie Legston’s Motion to
Remand (“the Motion to Remand”), (ECF No. 6). Plaintiff did not respond2 to Defendants’
Motion to Transfer, and the time to do so has expired. Defendants responded to Plaintif`f"s
Motion to Remand. Legston did not reply to Defendants’ response to the Motion to Remand.

Accordingly, the matter is ripe for disposition. The Court dispenses with oral argument

because the materials before it adequately present the facts and legal contentions, and argument

 

' Defendants’ Motion to Transfer notes that Defendant SOS Intemational LTD was

improperly identified by Legston as both "SOS Intemational (VA) LTD” and “SOS International
LTD.”

2 Although Legston did not respond to Defendants’ Motion to Transfer, his Motion to
Remand, filed the day after the Motion to Transfer, requests relief contrary to that sought by
Defendants. In the Memorandum in Support of the Motion to Remand, (ECF No. 7), Legston
argues that the Court must remand the case because Defendants cannot establish the facts
necessary to establish this Court’s jurisdiction over the matter.

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would not aid in the decisional process. For the reasons that follow, the Court will grant the
Motion to Remand and deny the Motion to Transfer as moot.
l. Factual and Procedural Background

A. Factual Bac round

Legston brings this personal injury action against Defendants for damages he sustained
while working as a civilian instructor providing classroom training for military equipment at
Camp Taji, lraq. (Compl. [F 4, ECF No. l-l .) Legston alleges that he was injured when he was
struck on the head while operating a piece of exercise equipment that was improperly maintained
by Defendants. (Id. [Hf 6-14.) He further claims that Defendants “negligently caused, permitted,
and allowed to exist certain dangerous, hazardous and unsafe conditions, that they knew or
should have known existed, and negligently fail[ed] to warn [Legston] of the dangerous
[conditions.]” (Id. ll 20.)

B. Procedural Histor_'y

Legston originally filed the Complaint in the Circuit Court for the City of Richmond (the
“Richmond Circuit Court”). On .luly 3, 2018, Defendants removed the case to this Court

pursuant to 28 U.S.C. §§ 14413 and 1442.4 ln their Notice of Removal, Defendants noted that

 

3 Section 1441 provides, in pertinent part: “[A]ny civil action brought in a State court of
which the district courts of the United States have original jurisdiction, may be removed by the
defendant or the defendants, to the district court of the United States for the district and division
embracing the place where such action is pending.” 28 U.S.C. § l44l(a).

4 Section l442(a) provides, in pertinent part:

(a) A civil action or criminal prosecution that is commenced in a State court and
that is against or directed to any of the following may be removed by them to the
district court of the United States for the district and division embracing the place
wherein it is pending:

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Legston improperly identified SOS Intemational LTD as “SOS Intemational (VA) LTD” and
“SOS Intemational LTD.” On .|uly 10, 2018, Defendants filed an Answer in this Court,
reiterating Legston’s improper identification of Defendants. On that same date, Defendants filed
the Motion to Transfer.

Legston did not respond to Defendants’ Motion to Transfer. On July ll, 2018, the next
day, Legston filed the Motion to Remand, arguing that the case should be remanded because it
was improperly removed by Defendants and that Defendants could not show the required federal
jurisdiction over the case. Defendants responded to the Motion to Remand, (ECF No. l l.)

lI. Analysis: Motion to Remand

The Court first addresses the Motion to Remand, Legston moves to remand the case to
the Richmond Circuit Court, claiming that it was improperly removed pursuant to 28 U.S.C.

§§ 1441 and l442(a) because Defendants have not, and cannot, meet their burden of establishing
that federal question jurisdiction exists over the matter in controversy. In their Response,
Defendants concede that neither of the Defendants, as currently named, provide base operations
support for the U.S. Military in lraq_. and therefore this could not provide a basis for the exercise
of federal jurisdiction under 28 U.S.C. § l442(a). Accordingly, Defendants do not oppose the

Motion to Remand. Based on the record before it, and lacking any opposition, the Court

 

(l) The United States or any agency thereof or any officer (or any person
acting under that officer) of the United States or of any agency thereof, in
an official or individual capacity, for or relating to any act under color of
such office or on account of any right, title, or authority claimed under any
Act of Congress for the apprehension or punishment of criminals or the
collection of the revenue.

28 U.S.C. § l442(a).

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concludes that this case Was improperly removed and should be remanded to the Richmond
Circuit Court.

A. Legal Standard

The party seeking removal bears the burden of establishing federal jurisdiction. See, e.g.,
Mulcahey v. Columbia ()rgam`c Chem. Cr). 29 F. 3d 148, 151 (4‘h Cir. 1994) (citing Wilson v.
Republic lron & Steel Co., 257 U.S. 92, 97 (1921)). “If federal jurisdiction is doubtful, a remand
is necessary.” ]d. (citations omitted). Although the federal officer removal statute should be
construed liberally, the burden is on the removing party to establish each of the elements of
federal officerjurisdiction. CRGT. lnc. v. Nor!hrop Grumman Sys. Corp., No. 1:12-cv-554,
2012 WL 3776369, at *1 (E.D. Va. Aug. 28, 2012). Therefore, the removing party must
establish: (l) that it exists as a “person” within the meaning of the statute; (2) that the removing
party acted pursuant to a federal officer’s directions; (3) that a causal nexus existed between his
or her actions taken under color of federal office and the plaintiffs claims; and, (4) that a
colorable federal defense exists. L-3 Communicci!ions Corp. et al. v. Serco, lnc., 39 F. Supp. 3d
740, 745 (E.D. Va. Aug. 19, 2014); see also Mesa v. California, 489 U.S. 121, 124-25 (1989).

B. The Court Will Remand the Case to the Richmond Circuit Court

On the facts presented, the Court finds remand to the Richmond Circuit Court
appropriate. Defendants seek removal of the case under 28 U.S.C. § l442(a)(l), which
establishes federal officer removal jurisdiction, but they fail to provide facts necessary to
establish any of the four prongs for removal identified above. See L-3 Commum'catir)ns Co)'p. et
al., 39 F. Supp. 3d at 745.

In their Notice of Removal, Defendants cited an allegation from the Complaint that
“Defendants provide base operations support, including facility operations and maintenance, for

the U.S. Military in Iraq, Afghanistan, and Libya[,] including the gym at Camp Taji, lraq” as the
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basis for removal under § 1442(a)(1). (Not. Removal li‘ 21 ECF No. 1 (citing Compl. if 3).]
However, neither this allegatioii, nor any other allegation contained in the Complaint contends
that Defendants acted pursuant to a federal officer`s directions or that a causal nexus existed
between thc actions and Legston`s injuriesl Furthcr. Defendants counter that Legston named
SOS international (VA) LTD and SOS Intcrnatioiial LTD in error because neither one of those
entities provide military base operations support. Consequently, by Dei`endants’ own
acknou-'ledgirierit_. neither ot` the named entities could have acted in a manner satisfying the
requirements for federal ofticerjurisdiction to exist over this case.5 28 U.S.C. § l442(a)(1).

Because Defendants have failed to show that this C ourt has jurisdiction to consider the
case, the Court will remand this matter to the Richmond Circuit Court.

lII. Conciusion

For the foregoing reasons. the Court will grant the Motion to Remand. Because the Court
remands thc case to the Richmond Circuit Court. the Court will deny the i\»'lotion to Transt`er as
moot.

An appropriate Order shall issue.

 

United States istrict lodge

Date: /-gf*lq

Richmond, Virginia

 

5 Defendants indicate they have provided opposing counsel the name of the proper entity
They suggest that options to prevent remand were offered and rejected

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